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Stephen Manning (SBN 013373)                   Karen C. Tumlin (admitted pro hac vice)
stephen@innovationlawlab.org                   karen.tumlin@justiceactioncenter.org
Nadia Dahab (SBN 125630)                       Esther H. Sung (admitted pro hac vice)
nadia@innovationlawlab.org                     esther.sung@justiceactioncenter.org
INNOVATION LAW LAB                             JUSTICE ACTION CENTER
333 SW Fifth Avenue #200                       P.O. Box 27280
Portland, OR 97204                             Los Angeles, CA 90027
Telephone: +1 503 241-0035                     Telephone: +1 323 316-0944
Facsimile: +1 503 241-7733

Attorneys for Plaintiffs



                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF BRENDA
                                               VILLARRUEL IN SUPPORT OF
                                               PLAINTIFFS’ MOTION FOR A
                                               PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.
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                                Declaration of Brenda Villarruel

       I, Brenda Aniza Villarruel, upon my personal knowledge, hereby declare as follows:

       1.       I am a United States citizen by birth.
       2.       I currently live in Chicago, Illinois with my United States citizen biological son,
and my United States citizen parents. I work part time as a medical assistant at
                                   . I earned my Medical Assistant Certificate on August 18,
2012. I have worked for                                                   since 2013.
       3.       My husband is a professional tattoo artist. We opened
      , in East Chicago, Indiana in June 2016. I work at the parlor to keep the business up and
running in his absence. I started piercing professionally in July 2017 and tattooing in July 2018. I
presently work at                   with one (1) other artist trying to keep doors open awaiting my
husband's return.
       4.        I do not have employer-provided health insurance. I do not have a general doctor.
I use the services of Aunt Martha's Health & Wellness Program for reproductive health. They
offer sliding scale clinic services based on income. Every time I go to the clinic, I pay only $20.
       5.        I have sponsored an immigrant visa application for my husband, Gabino Soriano
Castellanos, so that I can reunite with him here.
       6.        My husband is a national of Mexico, and currently resides in Mexico City,
Mexico. I married my husband in 2016. My husband has been in Mexico since March 9, 2018.
        7.       I applied for my husband to come to the United States on or around July 1, 2016.
The 1-130 petition was approved on or around September 6, 2016.
        8.       Since then, my husband attended an initial IV interview at Ciudad Juarez on
March 27, 2018. His visa was refused and we filed an 1-601, Application for Waiver of Grounds
oflnadmissibility on December 17, 2018. It was approved on August 20, 2019 and my husband
was scheduled to attend his IV interview on November 5, 2019 at 8:45 a.m.
       9.       However, after we considered the Proclamation and researched all the approved
health insurance plans, we requested to postpone the interview. Every approved plan is either
not available to my husband and I or unaffordable and would remain so due to our family's
current financial situation. For example, we cannot afford visitor insurance or short-term
disability plans and we are not eligible for other plans such as Medicare.



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MOTION FOR A PRELIMINARY INJUNCTION
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       10.        On or about October 30, 2019 my husband was told via phone that he could
cancel his interview or reschedule his interview, however, there were not available future
interview dates to reschedule the interview and he would have to call back if he wanted to
reschedule. We are hoping that he will be able to reschedule his interview in the next few
months. I have already been living apart from my husband for one (1) year and nine (9) months,
and the separation has been exceptionally painful. I can only communicate with my husband
through phone on a limited basis due to work and family obligations. As I mentioned my
husband is a professional tattoo artist. He is the "main attraction" as an aitist. He is known for his
black and grey and traditional tattooing styles and hold a certificate in drawing from The School
of the Art Institute of Chicago. Although some of our customers have gone to other artists due to
the long wait for his return, we still have approximately 100 confirmed customers waiting to be
specifically tattooed by my husband. I do not know how much longer I will be able to keep the
business going.
        11.       When I learned that our separation will be prolonged indefinitely, I felt absolutely
devastated and that we are finally going to be wiped out financially. I cannot think we can keep a
tattoo business open without the star tattoo artist.
        12.       My son,         Gabino's stepson is extremely depressed. Gabino has been the
only father figure          has ever had.        was only four (4) years old when Gabino and I met.
He asks me constantly when Gabino will be back. This additional delay has left him feeling
hopeless and in despair.
        13.       I am American and my parents are originally from Mexico. My mother became a
United States citizen before me or my three (3) siblings were born. My dad became a lawful
permanent resident on the day I was born,                         . When I was in high school, I
helped my dad study for his naturalization test.
        14.       I am willing to serve as a class representative on behalf of those who are similarly
situated to me and cannot have family members join them in the United States because of the
current refugee restrictions.
        15.       I know that if the class is certified I will be representing more than just myself in
this case. I have spoken with the lawyers who represent me about what being a class
representative means. I want to help everyone in my situation because we are all suffering due to
the unfair restrictions imposed by this Proclamation.



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I declare under penalty of perjury and under the laws of the United States that the foregoing is
true and correct. Executed at Chicago, Illinois on November 6, 2019.



                                                  nJlui&l\Lid2wJ>
                                                   Brenda Villarruel



Sworn before me this 6th day of November 2019


                                                            �
                                                           .•.
                                                                             KIKI MARIA MOSLEY
                                                                                Official Seal
                                                                      Nota:·y Public - State of Illinois
Notary Public                                                    ,;.y Commission Expires Jul 30, 2022

Commission Expires:




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MOTION FOR A PRELIMINARY INJUNCTION
